                                                           May 12, 2025
Via ECF and Email
Hon. Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza
Brooklyn, N.Y. 11201


                  Re:     United States v. Jonathan Braun, 10- cr-433 (KAM)


Dear Judge Matsumoto:

       The defense intends to admit the following additional exhibit at Thursday’s hearing.


              Defense D – Body worn camera footage dated February 15, 2025.


       Thank you for your time and consideration.



                                                           Respectfully Submitted,

                                                           Kathryn Wozencroft
                                                           Kathryn Wozencroft
                                                           Assistant Federal Defender
                                                           (347) 802-7800
cc:    AUSA Tanya Hajjar
       AUSA Rachel Bennek
